                        Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 1 of 30

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                    7   Attorneys for Defendant
                        UNITED PARCEL SERVICE, INC.
                    8

                    9                               UNITED STATES DISTRICT COURT

                   10                               EASTERN DISTRICT OF CALIFORNIA

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                   13   RORDARA CHHORN,                             Case No.
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1^;^               14                  Plaintiff,
                                                                    NOTICE OF REMOVAL OF ACTION
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a& ^ h- < '_ ^     15   vs.                                         UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
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                   16   UNITED PARCEL SERVICE CO., a
> 2 ^ "-                corporation; UNITED PARCEL SERVICE
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B-i - °
                   17   OF AMERICA, INC., business entity form
<;
1-1                     unknown; UNITED PARCEL SERVICE,
                   18   INC, a corporation; and DOES 1 through
                        100,
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                                       Defendants
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                        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S. C.§1441(b) (DIVERSITY)
                             Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 2 of 30

                              TO THE CLERK OF THE ABOVE-ENTITLED COURT:

                                       PLEASE TAKE NOTICE that Defendant United Parcel Service, Inc. ("UPS" or

                              "Defendant") hereby removes to this Court the state court complaint described below. No other

                         4    defendant has been served in this action.

                                       1. On or about April 19, 2018, an action was commenced in the Superior Court of

                              the State of California, County of San Joaquin, entitled Rordara Chhorn v. United Parcel

                              Service, Co. et al, Case No. STR-CV-UOE-2018-4544 (the "Action").

                                       2. On May 1, 2018, United Parcel Service, Inc. (UPS or "Defendant") was served

                              with the Summons and Complaint. (True and correct copies of the Summons and Complaint,

                        10    served upon Defendant through Corporation Service Company are attached hereto as Exhibit A.)

                        11             3. On May 29, 2018, UPS filed and served an Answer to the Complaint in the San

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^-1                           Joaquin County Superior Court. (A true and correct copy of UPS's Answer to the Complaint is
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                  U"l   13    attached hereto as Exhibit B.) Exhibits A and B constitute all the pleadings that have been filed
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      I- . a f ^        14    in this action as of the date of the filing of this Notice of Removal.
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06 "z. I- ~<"^vl        15             4. This Notice of Removal has been filed within thirty (30) days after UPS was
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f-f t- -I Z ^ X               deemed served with a copy of the Complaint upon which this action is based. See Murphy Bros.,
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< ss                    17    Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 353 (1999) (service of process is the official
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                        18   trigger for responsive action by a named defendant). This Notice of Removal is therefore filed

                        19    within the time period provided by 28 U.S.C. §1446(b).

                        20             5. In accordance with 28 U.S.C. § 1446(d), the undersigned counsel certifies a copy

                        21   of this Notice of Removal and all supporting pleadings will be promptly served on Plaintiff

                        22   Rordara Chhorn ("Plaintiff) filed with the Clerk of the San Joaquin County Superior Court.

                        23   Therefore, all procedural requirements under 28 U.S.C. § 1446 will be satisfied.

                        24

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                        26
                              * Plaintiff also names as defendants in this action United Parcel Service Co. and United Parcel Service of America,
                        27   Inc. However, the foregomg entities have not been served with Summons and Complaint. Moreover, neither entity
                             is a citizen of California. United Parcel Service Co. is incorporated under the laws of Delaware with a principal
                        28   place of business in Kentucky. United Parcel Service of America, Inc. is incorporated and has its principal place of
                             business in Atlanta, Georgia. Both entities are subsidiaries of Defendant United Parcel Service, Inc.




                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441 (b) (DIVERSITY)
                        Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 3 of 30

                    1             6. Venue of this action lies in the United States District Court for the Eastern District

                    2    of California pursuant to 28 U.S.C. §§ 1441, et seq. and 1391(a) because this is the judicial

                    3    district of the court in which Plaintiff alleges the action arose. (See Complaint at ^2.)

                    4             7. This action is a civil action of which this Court has original jurisdiction pursuant

                    5    to 28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant pursuant to

                    6    the provisions of 28 U.S.C. § 1441(b), in that it is a civil action between citizens of different

                    7    states and the matter in controversy exceeds the sum of $75,000.00, exclusive of interest and

                    8    costs.


                    9                                     DIVERSITY OF CITIZENSHIP

                   10             8. Diversity jurisdiction exists where there is diversity of citizenship between the

                   11    parties at the time the lawsuit is filed. See Grupo Dataflux v. Atlas Global Group, 541 U.S. 567,

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          '4- in   13             9. To establish citizenship for diversity purposes, a natural person must be a citizen
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s ^"; ^            14    of the United States and domiciled in a particular state. Kantor v. Wellesley Galleries, Ltd, 704
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°» ^"^             15    F.2d 1088, 1090 (9th Cir. 1983). Persons are domiciled in the places where they reside with the
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                         intent to remain or to which they intend to return. Kanter v. Warner-Lamb crt Co., 265 F.3d 853,
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p- - °             17    857 (9th Cir. 2001). Plaintiff was, at the time of filing the Complaint, and still is a resident and
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                   18    citizen of the state of California as stated in Plaintiffs Complaint. (See Complaint at ^ 1.)

                   19             10. A corporation is a citizen in a state where it is incorporated and it has its principal

                   20   place of business. 28 U.S.C. § 1332(c). With respect to ascertaining a corporation's principal

                   21   place of business for puqioses of diversity jurisdiction, the United States Supreme Court has

                   22    adopted the "nerve center test." The Hertz Corporation v. Friend, 130 S.Ct. 1181 (2010). Under

                   23   the nerve center test, a corporation's principal place of business is where a corporation's high

                   24   level officers direct, control and coordinate the corporation's activities.

                   25             11. UPS, both at the time this action was commenced and the time it was removed to

                   26   federal court, was not a citizen of California. (See the Declaration of Marlo Austin ("Austin

                   27   Declaration") attached hereto as Exhibit C, ^ 2.) UPS is a corporation organized and existing

                   28   under the laws of the state of Ohio. Its principal place of business and corporate headquarters are




                        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
                        Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 4 of 30

                      1 || located in Atlanta, Georgia where UPS conducts a predominance of its corporate and business

                     2 || activities. (Austin Dec!., ^ 2.) Thus, UPS is a citizen of the state of Ohio within the meaning of

                     3 || 28 U.S.C. § 1332(c)(l). Applying the "nerve center" test, Georgia is the state where UPS'

                     4 || primary executive, administrative, financial, and management functions are conducted, and

                     5 || where its high level officers direct, control, and coordinate their activities, and thus, is the

                     6 || principal place of business for the corporation. (Austin Decl., ^ 2.)

                     7 || 12. The presence of Doe defendants has no bearing on the diversity with respect to

                     8 || removal. See 28 U.S.C. § 1441 (b) ("the citizenship of defendants sued under fictitious names

                     9 || shall be disregarded.").

                    10 || AMOUNT IN CONTROVERSY
                    11 || 13. This action also meets the amount in controversy requirement.
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_1                  12 || 28U.S.C.§ 1332(a) authorizes the removal of cases in which, among the other factors noted
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          ^ in      13 || above, the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
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      1:.-= ^•';    14 || costs. Without admitting Plaintiff could recover any damages, the amount in controversy in this
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»3                  15 || action could exceed $75,000, exclusive of interest and costs.
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^^                  16 || 14. In determining whether the amount in controversy exceeds $75,000, the court
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< ^ ;               17 || must presume Plaintiff will prevail on each and every one of his claims. Kenneth Rothschild
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                    18 || Trust v. Morgan Stanley Dean Witter, 199 F.Supp.2d 993, 1001 (C.D. Cal. 2002) citing Burns v.

                    19 || Windsor Ins. Co., 31 F.3d 1092, 1096 (llth Cir. 1994) (the amount in controversy analysis

                    20 || presumes "plaintiff prevails on liability") and Angus v. Shiley Inc., 989 F.2d 142, 146 (3d Cir.

                    21 || 1993) ("the amount in controversy is not measured by the low end of an open-ended claim, but

                    22 || rather by reasonable reading of the value of the rights being litigated"). Moreover, the argument

                    23 || and facts set forth herein may appropriately be considered in determining whether the

                    24 || jurisdictional amount in controversy is satisfied. Cohn v. Petsmart, Inc., 281 F.3d 837, 843, n.l

                    25 || (9th Cir. 2002) citing Willingham v. Morgan, 395 U.S. 402, 407 n.3 (1969).

                    26 || 15. The amount in controversy may include general and special compensatory

                    27 || damages, and attorney's fees which are recoverable by statute. Gait G/S v. JSS Scandinavia, 142

                    28 || F.3d 1150, 1155-1156 (9th Cir. 1998) and Goldbergv. CPC Int'l, Inc., 678 F.2d 1365, 1367 (9th



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                         Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 5 of 30

                          Cir. 1982), cert. denied, 459 U.S. 945 (1982) (attorney's fees may be taken into account to

                          determine jurisdictional amount). The court may examine the nature of the action and the relief

                          sought, and take judicial notice of attorney's fee awards in similar cases. See, e.g., Simmons v.


                          PCR Technology, 209 P. Supp. 2d 1029, 1035 (N.D. Cal. 2002) (attorneys' fees in individual

                          employment discrimination cases often exceed damages). Indeed, cases in the Ninth Circuit

                          firmly establish that statutory attorney's fees will be included as a basis for determining the

                          jurisdictional amount in controversy. See Gait G/S, supra, 142 F,3d at 1155-56. Furthermore,

                          such fees are calculable beyond the time of removal. Simmons, supra, 209 F. Supp. 2d at 1035.

                                  16. Like punitive damages, civil penalties are included in calculating the amount in

                    10    controversy. Romo v. FFG Ins. Co., 397 F.Supp,2d 1237, 1239 (C.D. Cal. 2005). While civil

                    11    penalties are not punitive damages per se, California courts have on numerous occasions

>-)                 12 || analogized the two because both are intended to punish and deter defendants rather than
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           <^ ir>   13 || compensate plaintiffs. See, e.g., Suman v. Superior Court, 39 Cal.App.4th 1309, 1317
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                    14 || (1995); Kwan v. Mercedes-Benz of N. Am., Inc., 23 Cal.App.4th 174, 184 (1994); Troensegaard

o8                  15 I] v. Silvercrest Indus., Inc., 175 Cal.App.3d 218, 226-28 (1985); see also Doran v. Embassy Suites
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                    16 || Hotel, 2002 WL 1968166, *3^, 2002 U.S. Dist. LEXIS 16116, * 10-11 (N.D.Cal. Aug. 22,

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[K _' 0             17 || 2002); Gibson v. Chrysler Corp., 1998 WL 646659, *3, 1998 U.S. Dist. LEXIS 11343, *7-8
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                    18 || (N.D.Cal. July 20, 1998).

                    19 || 17. The Complaint purports to assert claims for (1) failure to provide employment

                    20 || records, in violation of Cal. Labor Code § 226; (2) failure to provide employment records, in

                    21 || violation of Cal. Labor Code §1198.5; (3) failure to pay minimum wage; (4) failure to provide

                    22 || rest periods; (5) failure to pay wages due upon termination and waiting time penalties; (6) failure

                    23 || to issue accurate itemized wage statements; (7) violation of Cal. Business & Professions Cal.

                    24 || Code §17200 ; and (8) wrongful termination in violation of public policy.

                    25 || 18. The allegations demonstrate that Plaintiff seeks damages far in excess of $75,000,

                    26 || the jurisdictional requirement of this Court, for the following reasons:

                    27 || (a) Plaintiff alleges record-keeping deficiencies warranting penalties, costs,

                    28 || and interest. (Complaint at ^ 15-18, 22-25.) Additionally, Plaintiff alleges UPS failed to pay



                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
                          Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 6 of 30

                      1   wages due, failed to pay minimum wage, and failed to allow rest periods, each warranting

                      2   statutory penalties and/or liquidated damages. (Complaint at ^ 29-31, 37-40, 45-49.) Finally,

                      3   Plaintiff alleges claims for wrongful termination, and seeks lost and future wages, bonuses, and

                      4   benefits, as well as emotional distress damages. (Complaint at ^64-68.)

                      5                  (b) Plaintiffs prayer seeks compensatory damages, special damages, interest

                      6   on unpaid wages, civil penalties, waiting time penalties, disgorgement of profits from unlawful

                      7   business practices, and attorneys' fees and costs. Based on the aforementioned. Plaintiffs claims

                      8   are worth far more than $75,000 if he is successful.

                      9           19. Taking into consideration all of the foregoing, the amount in controversy in this

                     10   action exceeds the $75,000 minimum as required by 28 U.S.C. § 1332(a/ See generally, White v.

                     11   FCI USA, Inc., supra, 319 F.3d at 674-76 (holding it was facially apparent that plaintiffs

^                    12   employment claim exceeded $75,000 based on his "lengthy list of compensatory and punitive
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                     13   damages" including loss of pay, benefits, impaired earning capacity, and emotional distress

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                     14   combined with a claim for attorney fees.).
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           E- <                  20. All Defendants that have been served consent to removal of this action.
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                     16          WHEREFORE, Defendants remove the above action now pending in the Superior Court
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                     17   of the State of California for the County of San Joaquin to this Court.
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                     19   DATED: May 30, 2018                           LAFAYETTE & KUMAGAI LLP

                     20
                                                                        /s/ Susan T. Kumag.ai
                     21                                                 SUSAN T. KUMAGAI
                                                                        Attorneys for Defendants
                     22                                                 UNITED PARCEL SERVICE, INC.
                                                                        and UNITED PARCEL SERVICE CO.
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                          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
                         Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 7 of 30

                                                                 PROOF OF SERVICE

                     2            At the time of service, I was over 18 years of age and not a party to this action. I am
                          employed in the County of Alameda, State of California. My business address is 1300 Clay
                     3    Street, Suite 810, Oakland, California 94612.

                     4           On May 30, 2018,1 served true copies of the following document(s) described as follows:

                     5           DEFENDANTS UNITED PARCEL SERVICE, INC.'S NOTICE OF REMOVAL
                                 OF ACTION
                     6
                            x    BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the persons at
                     7           the addresses noted below and placed the envelope for collection and mailing, following our
                                 ordinary business practices. I am readily familiar with Lafayette & Kumagai LLP's practice for
                     8           collecting and processing correspondence for mailing. On the same day that the correspondence is
                                 placed for collection and mailing, it is deposited in the ordinary course of business with the United
                     9           States Postal Service, in a sealed envelope with postage fully prepaid.

                                 BY OVERNIGHT DELIVERY: I enclosed the document(s) in an envelope or package provided
                    10           by an overnight delivery carrier and addressed to the persons at the addresses noted below. I placed
                                 the envelope or package for collection and overnight delivery at an office or a regularly utilized
                    11           drop box of the overnight delivery carrier.

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^                   12           BY FAX TRANSMISSION: I faxed a copy of the document(s) to the persons at the fax numbers
_1                               noted below. The telephone number of the sending facsimile machine was (415) 357-4605. No
                                 error was reported by the fax machine that I used.
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                                 BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s) to be
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                    14           sent from e-mail address gbeasley@lkclaw.com to the persons at the e-mail addresses noted below.
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B. - °              17
<                         W. Zev Abramson, Esq.
_1
                    18   Nissim Levin, Esq.
                          Christina Begalds, Esq.
                    19   Abramson Labor Group
                         3580 Wilshire Boulevard, Suite 1260
                    20
                         Los Angeles, CA 90010
                    21
                                 I declare under penalty of perjury under the laws of the State of California that the
                    22   foregoing is true and correct.

                    23           Executed on May 30, 201 Sat Oakland, California,
                                                                               .^"\ /,

                    24                                                        JM-ilH).. "IfAj./l^
                                                                                     Denise TayljJf
                                                                                                TT
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                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 8 of 30




                                       EXHIBIT A
          Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 9 of 30

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                                  (CITACION JUDICIAL)
NOTICE TO DEFENDANT: ,                                                                                       2018 APR 19 AH \\^
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SERVICE OF A^ffiKECATB'W^A^ieaaH'arties^ermAttacfaed"-
                                                                                                                              DEPUT..Y-
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
RORDARA. CHHORN, an individual,


 NOTICEI You have been sued. Tlie court may decide Bgalnstyou without your being heard unless you respond wHhin 30 days. Read the mfomigtion
 bstow,
   You have 30 CALENDAR DAYS aflar this summons and legal papers are senfsd on you to file a wrfUen response at ttfe court and have a copy
 served on (he plaintiff. A letter or phone catl will not protect you. Your written response must be in proper legal form If you want tha court to hear your
 case. There may bo a court form (hat you can use for your response. You can find ihsae court forms and wore Informatton at (he CalHomla Courts
 Online Seff-Help Center (ymw.couiiinfo.ca.gw/selfhQlp), your county law library, or the courthousa nearest you. If you cannot pay Uw filing fee, ask
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 thass nonprofit Groups st the California Legal Services Web site (VMWjawhetpcalifomla.org), the Califamia Caurts Online Setf-Halp Centsr
 {www.caurtlnf3.ca.gov/s9lfhelp), or by cantecttng your loca! court or county bar association. NOTE: The court has a statutory lien forwatvsd fees and
 costs on any settlement or arbitration award of $10,000 or more in a civU case. TTie court's lien must be paid befoFS ths court will dlianlss ths case.
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 {www.lswhalpcaltfomIa.Drg), sn a/ Cenfra de Ayuda da las Cartes do California, (^vww.sucarfB.ca.gDVJ o ponlSndosa en contecto con la carta o e/
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The name and address of the court Is:
(B nombre y d!recd6n de la cortff ss): Superior Court of California
ISO E Weber Ave, Ste 200 Stockton, CA 95202                                                                     STK-CV"l-//L/ <-' "2018-



The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, 1s:
(B nomtire, la direca'on y el nOmero de telSfono de! abogado del demandBnte, o de/ demgndBnfg qua no t'ens abogado, es):
Christina Begakis, Esq. 3580 Wilshire Blvd, Suite 1260 Los Angeles, C^OOIO 213-49P-6300

DATE                                                ROSAJUNQUElRark.by                                                                             ,Deputy
(Feaha)                                                                        (Secretario).                                                        (Adjunto)
(For proof of SBwlca of this summons, use Proof of Servics of Summons (form POS-010).)
(Para prueba de entrega de osfa citatl6n use el farmularlo Proof of Service of Summons, (POS-^10)).
                                      NOTICE TO THE PERSON SERVED: You are served
                                     1. L-J as an Individual defendant
                                     2. [^] as fte person sued under the fictitious name of fspeoffy;;


                                     3. I1 on behalf of (specify):

                                          under: CZ] CCP 416.10 (corporation)                    COP 416.60 (minor)
                                                 II CCP 41 650 (defunct corporation)             CCP 416.70 (conservatee)
                                                I—1 COP 416.40 (association or partnership) [—] CCP 416.90 (authorized person)
                                                  I I other (specify):
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 Form Adopted for Mamialoty Usa
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          Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 10 of 30



                                                                                                                           SUM-200(A)
                                                                                                CASE NUMBER;
   SHORT TITLE:
   Chhom v. United Parcel Service Co.


                                                       INSTRUCTIONS FOR USE
  •> This form may be used ss an attachment to any summons if space does not pemi'rt the listing of all parties on the summons,
  + If this attachment is used, insert the following statement in the plaintiff or defendant box on ths summons: "Additional Parties
     Attachment form !s attached."

   List additional parties (Check only one box. Use a separate page for each type of party.):

     II plaintiff F") Defendant Q Cross-CompIainant || Cross-Defendant
  UNITED PARCEL SERVICE CO., a corporation; UNITED PARCEL SERVICE OF AMERICA, INC.,
  business entity form unknown; UNTTED PARCEL SERVICE, FNC., a corporation; and DOES 1-100,




                                                                                                                 Page 2 of 2
                                                                                                                                   PBBOlOtl
 Fonn Adopted for MamlBtoiy Usa
   judicial Cotincfl orcaaamta
                                          ADDITIONAL PARTIES ATTACHMENT
SUM^CKW) (HBV. Janumy 1. MOT)                       Attachment to Summons
           Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 11 of 30



                                                                                       <HL:ED._
     W. Zev Abramson, Esq. #289387                                            £>Uf>LR10ft COUST-'STGCKTO^
 1
     Nissim Levin, Esq. #306376
     Christina Begakis, Esq. #316779                                           20,10 APR J 9 AHI!;H.
 2                                                                                                  -4' '




     ABRAMSQN LABOR GROUP                                                     ROSA^NOUEIRO.CLEM
 3   3580 Wilshire Blvd, Suite 1260
 4
     Los Angeles, California 90010 •                                            BY^WLj^ 4^
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     Tel: (213)493-6300
 5   Fax: (213)382-4083

 6   Attorneys for Plaintiff,




                                                                                            ^^
     RORDARA CHHORN
 7
 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                          IN AND FOR THE COUNTY OF SAN JOAQUIN
10
11   RORDARA CHHORN, an individual,                     Case No.:
                                                                     .^-CV^£-""-M^
12                                                 ICOMPLAINT FOR DAMAGES AND
                     Plaintiff,                    [DEMAND FOR JURY TRIAL:
13
     vs.

14
                                                           1. Failure to Provide Employment Records
     UNITED PARCEL SERVICE CO., a
15                                                            in Violation ofCal. Lab. Code § 226
     corporation; UNITED PARCEL SERVICE OF                2. Failure to Provide Employment Records
     AMERICA, INC., business entity form                      in Violation ofCal. Lab. Code § 1198.5
16
     unknown; UNITED PARCEL SERVICE,                      3. Failure to Pay Minimum Wage
                                                          4. Failure to Provide Rest Periods
17   WC., a corporation; and DOES 1-100,
                                                          5. Failure to Pay Wages Due Upon
                                                              Termination; Waiting Time Penalties
18                                                        6. Failure to Issue Accurate Itemized
                     Defendants
                                                              Wage Statements
19                                                        7. Violation of California Business &
                                                              Professions Code §17200
20                                                        8. Wrongful Termination in Violation of
                                                              Public Policy
21

22                                                            Over $25,000
23

24   PLAINTIFF complains and alleges as follows:

             1. On information and belief. Plaintiff, RORDARA CHHORN is a resident of the
25
     State of California.
26
             2. At all times herein mentioned, Defendants, UNITED PARCEL SERVICE CO.,
27
28   UNITED PARCEL SERVICE OF AMERICA, INC., and UNITED PARCEL SERVICE, INC.,



                                  Complaint and Demand for Jury Trial
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 1   (heremafter "UPS") were doing business in California at 11800 Harlan Road, Lathrop, CA

 2   95330, and was the employer of plaintiff from on or about November 20,2017 through on or

 3   about December 14,2017.

 4           3. Plaintiff is ignorant of the true names and capacities, whether individual,

 5   corporate, or associate, of those Defendant fictitiously sued as DOES 1 through 100 inclusive

 6   and so Plaintiff sues them by these fictitious names. Upon discovering the true names and

 7   capacities of these fictitiously named Defendant, Plaintiff will amend this complaint to show the

     true names and capacities of these fictitiously named Defendant.

 9          4. Unless otherwise alleged in this complaint. Plaintiff is informed and believes,

10   and on the basis of that information and belief alleges that at all times herein mentioned, each of

11   the remaining co-Defendant, in doing the things hereinafter alleged, was acting within the

12   course, scope and under the authority ofhis/her/its agency, employment, or representative

13   capacity, with the consent ofher/his/its co-Defendant.

14          5, Plaintiff began working for Defendant on or about November 20, 2017.

15          6. Defendant failed to provide Plaintiff access to the timekeeping system, and

16   simply required Plaintiff to sign in and sign out on paper.

17          7. Defendant informed Plaintiff that his sign in sheet was "lost" and failed to pay

18   Plaintiff for his hours worked.

19          8. Further, Defendant was required under California law to authorize and permit

20   Plaintiff to take daily rest periods. Throughout Plaintiffs employment with Defendant,

21   Defendant failed to authorize and permit Plaintiff rest periods as requh-ed by law, and in fact,

22   Defendant encouraged Plaintiff not to take Plaintiff's daily rest periods.

23          9. Throughout his employment. Plaintiff was not able to take an uninterrupted rest

24   breaks due to Defendant's scheduling practices.

25          10. On or about December 14, 2017, Plaintiff was forced to quit his position with

26   UPS because UPS continued to fail to pay Plaintiff for all hours worked despite Plaintiffs

27   complaints of unpaid wages.

28



                                       Complaint and Demand for Jury Trial
                                                        2
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 1           11. Defendant failed to provide Plaintiff, with accurate and timely pay stubs

 2   (accurate, semi-monthly, itemized statements of the total number of hours he worked and/or

 3   wages earned) as required by Labor Code § 226.

 4           12. Defendant has willfully failed to pay Plaintiff, whose employment was

 5   terminated on or about July 21,2017, a final payment of his wages in a prompt and timely

 6   manner in conformity with Labor Codes §§ 201 - 203.

 7           13. As a direct and proximate result of the unlawful acts of Defendant, Plaintiff has

     suffered and continues to suffer from losses of earnings and otherwise in amounts as yet

 9   unascertained but subject to proof at trial.

10                                           First Cause of Action

11                          FAILURE TO PROVIDE EMPLOYMENT RECORDS

12                                          [Cal. Lab. Code § 226]

13           14. Plaintiff re-alleges the information set forth m Paragraphs 1-13 as though folly

14   set forth at length.

15           15. California Labor Code Section 226(c) requires an employer who receives a

16   written or oral request to mspect or copy payroll records to comply with the request no later than

17   21 calendar days from the request date, failure to comply of which entitles the employee to

18   recover a $ 750 penalty from the employer, pursuant to California Labor Code Section 226(f).

19           16. On or about December 15, 2017, Plaintiff, through his attorney of record,

20   submitted a written demand for his employment records pursuant to California Labor Code

21   Sections 226. More specifically. Plaintiff requested all employment documents, all payroll

22   records and the entire contents of his personnel file. The payroll records were not received within

23   21 days of the date they were requested,

24           17. Plaintiff, through his attorney of record, requested his payroll records for a

25   second time on January 22, 2018.

26           18. To date, the payroll records have not been produced.

27

28


                                     Complaint and Demand for Jury Trial
                                                      3
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 1           19. As a result of these violations of law Plaintiff seeks all interest, fees, attorneys'

 2   fees, and civil penalties to which he is entitled at law, including but not limited to California

 3   Labor Code Sections 218;5;218.6 and226(f) and 1 m.5(f).

 4                                          Second Cause of Action

 5                          FAILURE TO PROVIDE EMPLOYMENT RECORDS

 6                                         [Cal. Lab. Code § 1198.5]

 7           20. Plaintiff re-alleges the information set forth in Paragraphs 1 -19 as though fally

 8   set forth at length.

 9           21. California Labor Code Section 1198.5, subdivision (a), provides: "Every

10   employee has the right to inspect the personnel records that the employer maintams relating to

11   the employee's performance or to any grievance concerning the employee." Subsection (b)

12   requires employers to make the personnel file available to an employee for inspection within 30

13   days of the employee's request. The failure to provide the personnel records within 30 days

14   subjects the employer to a $ 750 penalty per California Labor Code Section 1198.5(k).

15           22. On or about December 15, 2017, Plaintiff, through his attorney of record,

16   submitted a written demand for his employment records pursuant to California Labor Code

17   Sections 226. More specifically. Plaintiff requested all employment documents, all payroll

18   records and the entire contents of his personnel file. The personnel file was not received within

19   30 days of the date requested, as required by California law.

20           23. Plaintiff, through his attorney of record, requested his personnel file for a

21   second time on January 22, 2018.

22           24. To date, the personnel file has not been produced.

23           25. As a result of these violations of law Plaintiff seeks all interest, fees, attorneys'

24   fees, and civil penalties to which she is entitled at law, including but not limited to California

25   Labor Code Sections 218.5, 218.6 and 226(f) and 1198.5(f).

26   ///
27   ///
28   ///


                                    Complaint and Demand for Jury Trial
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 1                                           Third Cause of Action

 2                                FAILURE TO PAY MINIMUM WAGE

 3           26. Plaintiff re-alleges the information set forth in Paragraphs 1 -25 as though fully

 4   set forth at length.

 5           27. Section 1194 of the Labor Code provides, in relevant part: "Notwithstanding

 6   any agreement to work for a lesser wage, any employee receiving less than the legal minimum

 7   wage... applicable to the employee is entitled to recover in a civil action the unpaid balance of

     the full amount of this minunum wage... including interest thereon, reasonable attorney's fees,

 9   and costs of suit."

10           28. Section 1194.2 of the Labor Code provides, in relevant part: "In any action

11   under... Section 1194 to recover wages because of the payment of a wage less than the minimum

12   wage fixed by an order of the commission, an employee shall be entitled to recover liquidated

13   damages in an amount equal to the wages unlawfully unpaid and interest thereon."

14           29. During the course of Plaintiff s employment Defendants failed to pay Plaintiff

15   minimum wage for some of the hours that Plaintiff worked for Defendants.

16           30. Furthermore, pursuant to §§1194.2 and 218 of the California Labor Code,

17   Plaintiff is entitled to recover liquidated damages in an additional amount equal to the amount

18   Plaintiff is entitled to under §1194.

19           31. Pursuant to §1194 of the California Labor Code, Plaintiff is also entitled to

20   recover interest, costs, and attorneys' fees associated with this cause of action.

21           32. Defendants further willfully refused and continue to reftise to pay Plaintiff all

22   wages owed to Plaintiff in a timely manner, as required by the aforementioned statutes. Plaintiff

23   therefore requests restitution and penalties as provided by California Labor Code §203.

24                                           Fourth Cause of Action

25                              FAILURE TO PROVIDE REST PEMODS
26           33. Plaintiff re-alleges the information set forth in Paragraphs 1-32 as though fully

27   set forth at length.

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 1           34. Under Section 12 of Industrial Welfare Commission, California Code of

 2   Regulations, Title 8, Section 11040, Defendant was required to provide Plaintiff a 10-minute

 3   minimum rest period per four hours worked, or major fraction thereof, to be taken, as far as

 4   practicable, in the middle of the work period.

 5           35. Labor Code section 226.7, subdivision (a), provides: "No employer shall require

 6   any employee to work during any meal or rest periods mandated by applicable order of the

 7   Industrial Welfare Commission."

 8           36. Pursuant to Labor Code section 515.5, Plaintiff was a non-exempt employee

 9   entitled to the protections of the Industrial Welfare Commission Orders mentioned herein,

10   California Code of Regulations, Title 8, Section 11040.

11           37. During the course of Plaintiff employment, Defendant failed to provide

12   Plaintiff with all mandated rest periods and requu-ed Plaintiff to work during mandated rest

13   periods, in violation of the Industrial Welfare Commission Orders, Labor Code Section 226.7,

14   subdivision (a), and Labor Code section 512.

15          38. Pursuant to Section 12 (B) of Industrial Welfare Commission, California Code

16   of Regulations, Title 8, Section 11040, Defendant was required to pay Plaintiff one additional

17   hour of pay at his or her regular rate of compensation for each work day that the rest period was

18   not provided to Mm or her, in addition to paying him or her compensation for the time worked

19   including the missed rest period,

20          39. Under Labor Code section 226.7, subdivision (b). Defendant was required to

21   pay Plaintiff one additional hour of pay at Plaintiff regular rate of compensation for each work

22   day that the rest period was not provided. Plaintiff therefore requests restitution and that they be

23   compensated under section 226.7,

24          40. Defendant willfully refused and continues to refuse to compensate Plaintiff for

25   missed rest periods as required by the aforementioned statutes and regulations. Plaintiff

26   therefore requests restitution and penalties as provided by Labor Code section 203.

27          41. Under Labor Code section 558, an employer who violates a section of Chapter 1

28   of Part 2 of Division 2 of the Labor Code, which includes Section 512, or any provision of the




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 1   Industrial Welfare Commission regulating hours of work, is subject to a civil penalty as follows:

 2   (1) For any initial violation, fifty dollars ($50.00) for each underpaid employee for each pay

 3   period for which the employee was underpaid, in addition, to an amount sufficient to recover

 4   underpaid wages; and (2) For each subsequent violation, one hundred dollars ($100.00) for each

 5   underpaid employee for each pay period for which the employee was underpaid, in addition to an

 6   amount sufficient to recover underpaid wages.

 7           42, Under Labor Code section 218.5, Plaintiff is entitled to an award of reasonable

 8   attorney fees and costs in this action for the nonpayment of wages. Labor Code section 200

 9   defines "wages" as including "all amounts for labor performed by employees," which includes

10   the amounts owed by Defendant to Plaintiff described in this cause of action.

11                                          Fifth Cause of Action

12           FAILURE TO PAY WAGES DUE UPON TERMINATION; WAITING TIME

13                                              PENALTIES

14           43. Plaintiff re-alleges the allegations set forth in Paragraphs 1-42 as though fully

15   set forth and alleged herein.

16           44. California Labor Code §§ 201 and 202 require Defendant to pay all

17   compensation due and owing to former employees at or around the time their employment is

18   terminated.

19           45. California Labor Code § 203 provides that if an employer willfully fails to pay

20   compensation promptly upon discharge or resignation, as required by §§ 201 and 202, then the

21   employer is liable for penalties in the form of continued compensation up to thirty (30) work

22   days.

23           46. Defendant willfully failed to pay Plaintiff all wages and failed to pay rest period

24   premiums (as detailed above), and failed to pay all wages to Plaintiff, (who is no longer

25   employed by Defendant), for all wages due to her at the time of their separation as required by

26   California Labor Code §§201 and 202.

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                                     Complaint and Demand for Jury Trial
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 1           47. California Labor Code § 203 provides that an employee's wages not paid upon

 2   termination shall continue as a penalty until paid or for a period of up to thirty (30) days from the

 3   time they were due.

 4          48. Defendant's failure to pay all wages owed was willful and intentional and

 5   Plaintiff is thus entitled to penalties under Labor Code § 203.

 6          49. Pursuant to Labor Code § 203, Plaintiff is entitled to thirty (3 0) days worth of

 7   wages as a penalty, plus attorneys' fees, calculated against Defendant by multiplying their daily

 8   rate of pay by thirty (30) days.

 9                                          Sixth Cause of Action

10             FAILURE TO ISSUE ACCURATE ITEMIZED WAGE STATEMENTS

11          50. Plaintiff re-alleges the information set forth in Paragraphs 1-49 above and by

12   this reference incorporates said paragraphs herein as though fully set forth at length.

13          51. California Labor Code § 226(a) requires that employers, when paying their non-

14   exempt employee's wages, include an "itemized statement in writing showing" the "total hours

15   worked by the employee," and "all applicable hourly rates in effect during the pay period and the

16   corresponding number of hours worked at each hourly rate."

17          52. Defendant implemented an employment practice whereby it failed to provide

18   Plaintiff with accurate wage statement and records, including but not limited to pay stubs

19   recording all hours worked, paychecks representing all wages earned, wage statements or

20   itemized stubs showing hourly wage, (or piece meal rate), tips, overtime, bonus, vacation, as well

21   as any employment deductions for all hours worked. Defendant's failure to provide or maintain

22   accurate record of overtime hours worked and mimmum wages earned specifically injured

23   Plaintiff by depriving Plaintiff of all wages and earnings earned.

24          53. Defendant has willfully and intentionally violated California Labor Code §

25   226(a) by failing to show the total hours worked, failing to show the applicable overtime rates

26   paid or owed, failing to record overtime hours worked, and failing to pay overtime rates and

27   intentionally not paying or under paying wages.

28



                                    Complaint and Demand for Jury Trial
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 1           54. As a result of Defendant's violation of Labor Code § 226, Plaintiff is entitled to

 2   $50.00 for each pay period in which there is an initial violation of Section 226 and $100.00 for

 3   each subsequent pay period in whicK there is a further violation.

 4           55. Plaintiff seeks injunctive relief under Labor Code § 226 in the form of an order

 5   from the Court, ordering Defendant to properly state the wages earned, the proper hours worked

 6   and the proper overtime wages paid - and to furnish accurate wage statements to each Plaintiff

 7   herein as well as other similarly situated employees of Defendant.

 8           56. Plaintiff alleges she is due a maximum of $4,000.00 as non-taxed penalties and

 9   restitution, plus cost and attorneys' fees, for pay periods in which Defendant has failed to comply

10   with Labor Code § 226 and for up to one year from the date of filing this action.

11                                           Seventh Cause of Action

12          VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE §17200
13           57. Plaintiff re-alleges the information set forth in Paragraphs 1-56 above and by

14   this reference incorporates said paragraphs herein as though fully set forth at length.

15           5 8. By violating the aforementioned statutes and regulations, the acts of Defendant

16   constitute unfair and unlawful business practices under California Business & Professions Code

17   §17200,etseq.

18           59. Defendant's violations of California wage and hour laws constitute a business

19   practice because they were committed repeatedly over a significant period of time and in a

20   systematic manner to the detriment of Plaintiff.

21           60. Defendant's violations of California's laws regarding maintaining records

22   constitute a business practice because tfaey were committed repeatedly over a significant period

23   of time and in a systematic manner to the detriment of Plaintiff.

24           61. For the length of Plaintiff s employment and up to five years preceding the

25   filing of this action. Plaintiff has suffered damages and request damages and/or restitution of all

26   monies and profits to be disgorged from Defendant in an amount according-to proof at time of

27   trial, but in excess of the jurisdiction of this court.

28   ///


                                      Complaint and Demand for Jury Trial
                                                          9
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 1                                               Eighth Cause of Action

 2                   WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

 3            62; Plaintiff re-alleges the iriformation set forth in Paragraphs l-6t above andby

 4    this reference incorporates said paragraphs herein as though fully set forth at length.

 5            63. PlaintifTs employment was wrongfully terminated, in violation of substantial

 6    and fundamental public policies of the State of California that inures to the benefit of the public,

 7    with respect to retaliation, tortious discharge, and adverse employment actions taken against

 8    Plaintiff, all in violation of various state statutes including but not limited to violations of

 9    California's Labor Code and Business and Professions Code.

10            64. On or about December 14,2017, Plaintiff was constructively discharged from

11    his employment, in that any reasonable person in Plaintiff's position subject to Defendants'

12    actions would have resigned or quit his employment, as Plaintiff was compelled to do.

13            65. Defendant's acts by, among other things, failing to pay Plaintiff all wages owed

14   were willful, intentional, malicious, and showed a reckless disregard for the rights of Plaintiff.

15           66. Defendants had actual knowledge of the intolerable conditions caused by the

16   acts described herein, and failed to take any steps to end those conditions for the purpose of

17   causing Plaintiff's resignation. Furthermore, Defendants knew or should have known that

18   Plaintiff would resign as a result of Defendants' actions.

19           67. As a direct and proximate result of Defendant's willful, knowing, and

20   intentional actions as discussed herein, Plaintiff has sustained and continues to sustain substantial

21   I losses in earnings and other employment benefits.

22           68. As a direct, foreseeable, and proximate result of the conduct of Defendants,

23   Plaintiff has suffered, and continues to suffer emotional distress, losses in salary, bonuses, job

24   benefits, and other employment benefits which he would have received from Defendants, plus

25   expenses incurred in obtaining substitute employment and not being regularly employed all to

26   his damage m a sum within the jurisdiction of this court, to be ascertained according to proof.

27           69. The damages herein exceed $25,000.00.

28           70. Plaintiff requests a jury trial.




                                      Complaint and Demand for Jury Trial
                                                         10
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 1                         WHEREFORE. Plaintiff prays for the followine relief:

 2         1. For compensatory damages which resulted from Defendant's conduct as alleged

 3             herein;

 4         2. For all special damages which resulted from Defendant's conduct as alleged herein;

 5         3. For all general damages which resulted from Defendant's conduct as alleged herein;

 6         4. For all unpaid wages due to Plaintiff;

 7         5. For restitution of all monies due to Plaintiff and disgorgement of profits from the

 8            unlawful business practices of Defendant;

 9         6. For waiting time penalties pursuant to Labor Code §203;

10         7. For all penalties under all relevant statites;

11         8. For all interest as allowed by law;

12         9. For all costs and disbursements incurred in this suit;

13         10. For attorney's fees and costs; and

14         11. For such other and further relief as the Court deems just and proper.

15
16
     DATED: March 27, 2018                                     ABRAMSON LABOR GROUP
17

18
19
                                                          By:_
20                                                               Nissim Levin, Esq.
                                                                 Christina Begakis, Esq.
21                                                               Attorney for Plaintiff
                                                                 Rordara Chhom
22

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24

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27
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                                   Complaint and Demand for Jury Trial
                                                     11
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                                        EXHIBIT B
                    Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 23 of 30



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                         Attorneys for Defendant
                         UNITED PARCEL SERVICE, INC.


                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA

                   10                                  FOR THE COUNTY OF SAN JOAQUIN

                   11
p<
_i                 12    RORDARA CHHORN,                                   Case No, STR-CV-UOE-2018-4544
^ °^

< ^ ^              13                   Plaintiff,
U >. t- ^ 0

^=5;g^                                                                     DEFENDANT UNITED PARCEL
Kl%
^-b2^m
                   14    vs,                                               SERVICE, INC.'S ANSWER TO
                                                                           PLAINTIFF'S COMPLAINT
      7. ;
                   15    UNITED PARCEL SERVICE CO,, a
w-^
             u
                         corporation; UNITED PARCEL SERVICE                Complaint filed: April 19, 2018
      p < i=> ^.
      ^ ^ y.— X
td < u -< <
                   16    OF AMERICA, FNC., business entity form
x g^ "•                  unknown; UNITED PARCEL SERVICE,
< ^ <
U< -: 0            17    INC, a corporation; and DOES 1 through
<;
                         100,
                   18
,-t




                                       Defendants
                   19

                   20
                               Defendant United Parcel Service, Inc. ("Defendant") answers the Complaint ("Complaint")
                   21

                   22   filed by Plaintiff Rordara Chhorn ("Plaintiff) as follows:

                               Pursuant to California Code of Civil Procedure section 431.30(d), Defendant generally
                   23

                   24   denies each and every, all and singular, of the allegations in the Complaint, and generally denies

                   25   Plaintiff has been injured in any of the sums mentioned in said Complaint, or any sum at all, as the


                   26   result of any action, omission to act or delay in acting of this answering Defendant.

                   27   ///

                   28   ///

                        DEPENDANT UNITED PARCEL SERVICE, FNC.'S ANSWER TO PLAFNTIFF'S COMPLAFNT
                        (Case No, STR-CV-UOE-2018-4544)
                  Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 24 of 30



                                                       FIRST AFFIRMATIVE DEFENSE

                                 1. As a first, separate affirmative defense, Defendant asserts that Plaintiff fails to

                       allege facts sufficient to constitute a cause of action against Defendants.

                                                     SECOND AFFIRMATIVEDEFENSE

                                 2. As a second, separate affirmative defense, Defendant asserts that Plaintiffs

                      Complaint is barred by statutes of limitation includmg, but not limited to, California Code of

                      Civil Procedure §§ 338, 339 and/or 340, 29 U.S.C, §255, and Cal, Labor Code §§ 201,et seq,

                                                      THIRD AFFIRMATIVE DEFENSE

                                 3. As a third, separate affirmative defense. Defendant asserts that the alleged

                 10   damages sustained by Plaintiff was caused by persons, firms, corporations, entities or

                 11   organizations other than Defendant and, by reason thereof, Defendant is not liable to Plaintiff for

^-1              12   any alleged injuries, losses or damages.
^ °<s

-<^    „.
                 13                                  FOURTH AFFIRMATIVE DEFENSE
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                 14             4. As a fourth, separate affirmative defense. Defendant asserts that Plaintiff failed to
,s^l^?
^^2S;
ot ;; ? i^":     15   mitigate his damages, if any, and said failure to mitigate bars Plaintiff from recovery in this
£^^
H I- < n „
                 16
[-. I- ^ 2 — x        action.
^ < u < <
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<; m <
u< - °           17                                      FIFTH AFFIRMATIVE DEFENSE
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                 18             5, As a fifth, separate affirmative defense. Defendant asserts that actions relating to

                 19   Plaintiff were taken for good cause and legitimate non-discriminatory reasons.

                 20                                   SIXTH AFFIRMATFVE DEFENSE

                 21             6. As a sixth, separate affirmative defense, Defendant asserts that Defendant's

                 22   conduct alleged in the complaint, if and to the extent it occurred, was privileged and justified and

                 23   done with a good faith belief it was correct and no action may be taken against Defendant on

                 24   account of such conduct.

                 25                                 SEVENTH AFFIRMATIVE DEFENSE

                 26             7. As a seventh, separate affirmative defense, Defendant asserts that Plaintiffs

                 27   Complaint, and/or each claim for relief contained therein, is barred in whole or in part by the

                 28   doctrine ofunclean hands.


                      DEFENDANT UNITED PARCEL SERVICE, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                      (Case No, STR-CV-UOE-2018-4544)
                 Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 25 of 30



                                                   EIGHTH AFFLRMATIVE DEFENSE

                             8, As an eighth, separate affirmative defense. Defendant asserts that Plaintiffs

                      Complaint, and/or each claim for relief contained therein, is barred by the doctrines of waiver,

                      estoppel, and/or laches,

                                                    NINTH AFFIRMATIVE DEFENSE

                             9, As a ninth, separate affirmative defense, Defendant asserts that any emotional

                 7    distress or mental anguish allegedly suffered is barred by the exclusive remedy provided by

                 8    Labor Code § 3600 et seq. and cannot be compensated for in this present action,

                 9                                  TENTH AFFIRMATIVE DEFENSE

                10           10, As a tenth, separate and affirmative defense. Defendant asserts that the Complaint

                11    and each purported cause of action therein is preempted by § 301 of the Labor Management
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,-1             12   Relations Act, 29U,S,C, § 185(a).
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                13                               ELEVENTH AFFIRMATIVE DEFENSE
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                14           11. As an eleventh, separate and affirmative defense, Defendant asserts that it is
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<« ^            15   entitled to recover reasonable expenses, including attorneys' fees, from Plaintiff and that
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(-              16   Plaintiff's Complaint is frivolous and was brought and maintained in bad faith and without
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                17   reasonable cause, is totally and completely without merit, and was brought for the sole purpose of
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                18   harassing Defendants,

                19                               TWELFTH AFFIRMATIVE DEFENSE

                20           12, As a twelfth, separate affirmative defense, Defendant asserts they presently have

                21   insufficient lcnowledge or information upon which to form a belief whether there may be

                22   additional, as yet unstated, defenses and reserves the right to assert additional defenses in the

                23   event that discovery indicates that such defenses are appropriate,

                24          WHEREFORE, Defendant prays:

                25           1. The Plaintiff take nothing by the Complaint;

                26          2, That the Complaint be dismissed with prejudice;

                27   ///
                28   ///

                     DEFENDANT UNITED PARCEL SERVICE, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                     (Case No. STR-CV-UOE-2018-4544)
                   Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 26 of 30



                       1           3. That Defendant recover its costs of suit herein, including its reasonable attorneys'

                   2       fees; and

                   3               4, That the Court grant such other further relief as it may deem appropriate.

                   4

                   5       DATED: May 29, 2018                         LAFAYETTE & KUMAGAI LLP

                   6
                                                                       /s/Susan T, Kumagai.
                   7                                                   SUSAN T. KUMAGAI
                                                                       Attorneys for Defendant
                                                                       UNITED PARCEL SERVICE, INC.

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                           DEFENDANT UNITED PARCEL SERVICE, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                           (Case No. STR-CV-UOE-2018-4544)
                         Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 27 of 30



                                                                     PRQQF_QF SERVICE

                                      At the time of service, I was over 18 years of age and not a party to this action, I am
                              employed in the County of Alameda, State of California. My business address is 1300 Clay
                              Street, SuiteS 10, Oakland, California 94612.

                                     On M'ay 29, 2018,1 served true copies of the following document(s) described as follows:

                                     DEFENDANT UNITED PARCEL SERVICE, INC.'S ANSWER TO PLAINTIFF'S
                                     COMPLAINT


                             x
                                     BY MLA.IL; I enclosed the document(s) in a sealed envelope or package addressed to the persons at
                                     the addresses noted below and placed the envelope for collection and mailing, following our
                                     ordinary business practices. I am readily familiar with Lafayette & Kumagai LLP's practice for
                                     collecting and processing correspondence for mailing. On the same day that the correspondence is
                                     placed for collection and mailing, it is deposited in the ordinary course of business with the United
                                     States Postal Service, in a sealed envelope with postage fully prepaid.

                                     BY OVERNIGHT DELIVERY: I enclosed the document(s) in an envelope or package provided
                        10           by an overnight delivery carrier and addressed to the persons at the addresses noted below, I placed
                                     the envelope or package for collection and overnight delivery at an office or a regularly utilized
                        11           drop box of the overnight delivery carrier.
 D-i

^-1                     12           BY FAX TRANSMISSION: I faxed a copy of the document(s) to the persons at the fax numbers
'-' ° N                              noted below. The telephone number of the sending facsimile machine was (415) 357-4605. No
                                     error was reported by the fax machine that I used,
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          m ST in       13
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                                     BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s) to be
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                        14           sent from e-mail address gbeasley@lkolaw.com to the persons at the e-mail addresses noted below.
       n ul 2 '••• "^                I did not receive, within a reasonable time after the transmission, any electronic message or other
            IT in „
         ^ ^ ^~>
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                        15           indication that the transmission was unsuccessful,

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                                    BY PERSONAL SERVICE; I caused to be personally served a copy of the document(s) listed
La < u < <                           above on the parties at the addresses noted below,
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<                            W. Zev Abramson, Esq,
                        18
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                             Nissim Levin, Esq,
                             Christina Begakis, Esq,
                        19   Abramson Labor Group
                             3580 Wilshire Boulevard, Suite 1260
                        20
                             Los Angeles, CA 90010
                        21
                                    I declare under penalty of perjury under the laws of the State of California that the
                        22   foregoing is true and correct,

                        23          Executed on May 29, 2018 at Oakland, California.

                        24                                                        _£toA^2wlrG
                                                                                      Denise Taylo^
                        25

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                             DEFENDANT UNITED PARCEL SERVICE, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                             (Case No. STR-CV-UOE-2018-4544)
Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 28 of 30




                                       EXHIBIT C
                          Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 29 of 30

                            LAFAYETTE & KUMAGAI LLP
                            GARY T. LAFAYETTE (State Bar No. 088666)
                            glafayette(%lkclaw. corn
                            SUSAN TFKUMAGAI (State Bar No. 127667)
                            skumagai(%lkclaw. corn
                           1300 Clay Street, Suite 810
                           Oakland, California 94612
                           Telephone: (415)357-4600
                           Facsimile: (415) 357-4605

                           Attorneys for Defendant
                           UNITED PARCEL SERVICE, INC.




                      9                                  UNITED STATES DISTRICT COURT

                     10                                 EASTERN DISTRICT OF CALIFORNIA

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          ^ U~)      13    RORDARA CHHORN,                                    Case No.
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                     14                   Plaintiff,
^ ,, "2^'n                                                                    DECLARATION OF MARLO AUSTIN IN
08 "7.t ^^           15    vs.                                                SUPPORT OF NOTICE OF REMOVAL OF
w " ." " Ln .^.
      0 >• . _ "                                                              ACTION UNDER 28 U.S.C. § 1441(b)
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&^ ^ <i; a^
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P.J < " < <
                           UNITED PARCEL SERVICE CO., a                       (DIVERSITY)
> ^^ "•                    corporation; UNITED PARCEL SERVICE
< ^ <
B< - °               17    OF AMERICA, INC., business entity form
<
^                          unknown; UNITED PARCEL SERVICE,
                     18    WC, a corporation; and DOES 1 through
                           100,
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                                          Defendants
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                     21

                     22           I, Marlo Austin, declare as follows:


                     23            1. I am the District H.R. Operations Manager, North California, for United Parcel


                     24    Services, Inc., Northern California District. I make this declaration in support of the Notice of


                     25    Removal of Action to federal court filed by United Parcel Service, Inc. I have personal knowledge


                     26    of the facts set forth below and if called to do so, could and would testify competently thereto.


                     27           2. United Parcel Service, Inc. is a corporation organized and existing under the laws

                     28    of the state of Ohio. United Parcel Service, Inc.'s principal place of business and corporate

                                                                                                                               1
                            DECLARATION OF MARLO AUSTIN W SUPPORT OF NOTICE OF REMOVAL OF ACTION
                            UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
                    Case 2:18-cv-01574-TLN-CKD Document 1 Filed 05/30/18 Page 30 of 30


                    1   headquarters are located in the state of Georgia, where the company's high level officers, direct,

                    2   control, and coordinate the company's corporate and business activities.

                    3          3. My duties at UPS include the following: researching and responding to executive-

                    4   level inquiries and inquiries of a legal nature related to UPS; gathering, confirming and reviewing

                    5   documents; and assisting in the resolution of employee issues. In my position, I have access to the

                    6   personnel files of UPS employees including that ofRordara Chhorn ("Chhom"). I have reviewed

                    7   Chhom's personnel and payroll files.

                    8          4. In 2017, Rordara Chhorn was employed by UPS as a leader. M:s. Chhom's hourly

                    9   rate of pay was $11.00.

                   10          I declare under penalty of perjury under the laws of the United States of America and the

                   11   State of California that the foregoing is tme and correct.
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                   12          Executed this / & day of May 2017, at Oakland, California.
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                        DECLARATION OF MARLO AUSTIN DST SUPPORT OF NOTICE OF REMOVAL OF ACTION
                        UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
